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  9
      GE BETZ, INC.
 10

 11                        UNITED STATES DISTRICT COURT

 12                      CENTRAL DISTRICT OF CALIFORNIA

 13

 14   ROBERT ROMERO, an individual,         Case No. 2:16-cv-01356-FMO-JCx

 15               Plaintiff,                DEFENDANT GE BETZ, INC.’S
 16                                         NOTICE OF MOTION AND
            v.                              MOTION TO COMPEL
 17                                         ARBITRATION
      GE BETZ, INC.; DOES 1 through 50,
 18                                         Hearing Date:   June 16, 2016
      inclusive,
 19                                         Time:           10:00 a.m.
                  Defendants.               Courtroom:      22 – 5th Floor
 20                                         Judge:          Hon. Fernando M. Olguin
 21
                                            Complaint Filed: January 25, 2016
 22                                         Trial Date: April 11, 2017

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                                                  Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION
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  1   TO PLAINTIFF ROBERT ROMERO AND HIS ATTORNEYS OF RECORD:
  2         NOTICE IS HEREBY GIVEN that on June 16, 2016 at 10:00 a.m. or as soon
  3   thereafter as the matter may be heard, before the Honorable Judge Fernando M.
  4   Olguin in Courtroom 22 of the above-entitled Court, located at 312 N. Spring Street,
  5   Los Angeles, CA 90012, Defendant GE Betz, Inc. (“Defendant”) will and hereby
  6   does move pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1, et seq., as follows:
  7         (1)    For an Order pursuant to 9 U.S.C. § 4, compelling Plaintiff Robert
  8   Romero (“Plaintiff”) to submit his claims to arbitration in conformance with
  9   Defendant’s Solutions Alternative Dispute Resolution Procedure applicable to its
 10   California employees, which requires the claims to be resolved by final and binding
 11   arbitration, and dismissing Plaintiff’s Complaint.
 12         This Motion is based upon this Notice, the accompanying Memorandum of
 13   Points and Authorities in support thereof, the Declaration of Jennifer Kozak and
 14   exhibits thereto, the declaration of Rachel J. Moroski, the proposed order filed
 15   herewith, all papers and pleadings filed in this action, and any other evidence and
 16   argument as may be presented at or prior to the hearing on the Motion.
 17         This Motion is made following the conference of counsel pursuant to L.R. 7-3
 18   which took place on March 16, 2016.
 19   DATED: May 10, 2016                    OGLETREE, DEAKINS, NASH, SMOAK &
                                             STEWART, P.C.
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                                             By: /s/ Rachel J. Moroski
 22                                              MICHAEL N. WESTHEIMER
                                                 RACHEL J. MOROSKI
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                                             Attorneys for Defendant
 24                                          GE BETZ, INC.
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                                        1          Case No. 2:16-cv-01356-FMO-JCx
          DEFENDANT’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION
